                      Case 22-20052                 Doc 1         Filed 03/01/22 Entered 03/01/22 17:41:06                              Desc Main
                                                                     Document Page 1 of 8
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                      District of Wyoming


 Case number (if known):                                          Chapter       7                                                       ❑Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1. Debtor's name                               S.S.O. Capital Inc.



   2. All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



   3. Debtor's federal Employer                    4      5 – 5   6     3   2   9   5   6
      Identification Number (EIN)



   4. Debtor's address                            Principal place of business                                  Mailing address, if different from principal place of
                                                                                                               business

                                                   30 N Gould St Ste R
                                                   Number         Street                                       Number         Street



                                                                                                               P.O. Box
                                                   Sheridan, WY 82801-6317
                                                   City                                 State   ZIP Code
                                                                                                               City                               State     ZIP Code

                                                   Sheridan                                                    Location of principal assets, if different from principal
                                                   County                                                      place of business


                                                                                                               Number         Street




                                                                                                               City                               State     ZIP Code




   5. Debtor's website (URL)



   6. Type of debtor                              ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:


Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                    Case 22-20052               Doc 1         Filed 03/01/22 Entered 03/01/22 17:41:06                                    Desc Main
                                                                 Document Page 2 of 8
Debtor      S.S.O. Capital Inc.                                                                                    Case number (if known)
           Name
                                                A. Check one:
   7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     2   3    9

   8. Under which chapter of the                Check one:
      Bankruptcy Code is the                    ✔ Chapter 7
                                                ❑
      debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A
     debtor as defined in § 1182(1) who
                                                ❑ Chapter 11. Check all that apply:
     elects to proceed under subchapter V of       ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     chapter 11 (whether or not the debtor is                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
     a “small business debtor”) must check                   this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
     the second sub-box                                      statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).
                                                       ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                             (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                             under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
                                                             do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
                                                             with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                             Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
   9. Were prior bankruptcy cases filed by      ✔ No
                                                ❑
      or against the debtor within the last 8
      years?
                                                ❑Yes. District                                          When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a separate              District                                       When                    Case number
     list.                                                                                                      MM / DD / YYYY


  10. Are any bankruptcy cases pending or       ✔ No
                                                ❑
      being filed by a business partner or
      an affiliate of the debtor?               ❑Yes. Debtor                                                                    Relationship

                                                          District                                                               When
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                          Case number, if known




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                          page 2
                    Case 22-20052           Doc 1         Filed 03/01/22 Entered 03/01/22 17:41:06                                      Desc Main
                                                             Document Page 3 of 8
Debtor      S.S.O. Capital Inc.                                                                                 Case number (if known)
           Name


  11. Why is the case filed in this     Check all that apply:
      district?
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ❑
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                        ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have       ✔ No
                                        ❑
      possession of any real property
      or personal property that needs
                                        ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                         Why does the property need immediate attention? (Check all that apply.)
                                                   ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                   ❑ It needs to be physically secured or protected from the weather.
                                                   ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                       example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   ❑ Other
                                                   Where is the property?
                                                                             Number          Street




                                                                             City                                            State      ZIP Code
                                                  Is the property insured?
                                                   ❑No
                                                   ❑Yes.        Insurance agency
                                                                Contact name
                                                                Phone

         Statistical and administrative information

      13. Debtor’s estimation of        Check one:
          available funds?              ✔ Funds will be available for distribution to unsecured creditors.
                                        ❑
                                        ❑After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
      14. Estimated number of           ✔ 1-49 ❑ 50-99
                                        ❑                                     ❑ 1,000-5,000 ❑ 5,001-10,000               ❑ 25,001-50,000 ❑ 50,000-100,000
          creditors                     ❑ 100-199 ❑ 200-999                   ❑ 10,001-25,000                            ❑ More than 100,000

      15. Estimated assets               ❑ $0-$50,000                           ✔ $1,000,001-$10 million
                                                                                ❑                                              ❑ $500,000,001-$1 billion
                                         ❑ $50,001-$100,000                     ❑ $10,000,001-$50 million                      ❑ $1,000,000,001-$10 billion
                                         ❑ $100,001-$500,000                    ❑ $50,000,001-$100 million                     ❑ $10,000,000,001-$50 billion
                                         ❑ $500,001-$1 million                  ❑ $100,000,001-$500 million                    ❑ More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                    Case 22-20052              Doc 1         Filed 03/01/22 Entered 03/01/22 17:41:06                                         Desc Main
                                                                Document Page 4 of 8
Debtor      S.S.O. Capital Inc.                                                                                      Case number (if known)
           Name




                                            ❑ $0-$50,000                               ✔ $1,000,001-$10 million
                                                                                       ❑                                              ❑ $500,000,001-$1 billion
      16. Estimated liabilities
                                            ❑ $50,001-$100,000                         ❑ $10,000,001-$50 million                      ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                        ❑ $50,000,001-$100 million                     ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                      ❑ $100,000,001-$500 million                    ❑ More than $50 billion

         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
                    for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
          authorized representative of
          debtor                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                     correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on
                                                                   MM/ DD/ YYYY



                                               ✘
                                                    Signature of authorized representative of debtor                     Printed name



                                                    Title



      18. Signature of attorney
                                               ✘                        /s/ Boyd O Wiggam                                Date 03/01/2022
                                                                                                                                  MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                    Boyd O Wiggam
                                                    Printed name

                                                    Olsen Legal Group, LLC
                                                   Firm name

                                                    204 East 22nd Street
                                                   Number           Street


                                                    Cheyenne                                                                 WY               82001
                                                   City                                                                      State            ZIP Code



                                                    (307) 414-8385                                                            boyd@olsenlegalgroup.com
                                                   Contact phone                                                              Email address



                                                    6-4059                                                                    WY
                                                    Bar number                                                                State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 4
           Case 22-20052                Doc 1         Filed 03/01/22 Entered 03/01/22 17:41:06                                       Desc Main
                                                         Document Page 5 of 8
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF WYOMING
                                                                 CHEYENNE DIVISION

IN RE: S.S.O. Capital Inc.                                                                   CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       03/01/2022              Signature
                                                                                   Authorized Signer
Case 22-20052   Doc 1   Filed 03/01/22 Entered 03/01/22 17:41:06   Desc Main
                           Document Page 6 of 8

                            Adriana E. Reza, Esq.
                            Po Box 17205
                            Anaheim, CA 92817-7205




                            Albert Chcoury
                            1665 E 7th St Apt 4B
                            Brooklyn, NY 11230-7008




                            Brandon Jeremia Querin
                            24130 Turkey Rd
                            Sonoma, CA 95476-9759




                            California Franchise Tax
                            Board
                            Business Entity Bankruptcy MS A345
                            PO Box 2952
                            Sacramento, CA 95812-2952


                            Clerk of the Circuit Court
                            Okaloosa County, Florida
                            101 E James Lee Blvd
                            Crestview, FL 32536-3501



                            Costal Investment Partners,
                            LLC
                            c/o Byrd Campbell, P.A.
                            180 N Park Ave Ste 2a
                            Winter Park, FL 32789-7401


                            David Norton
                            Po Box 388
                            Palmer, AK 99645-0388




                            Edmond Moriniere
                            912 Dryden Ave Unit B
                            Copperas Cove, TX 76522-1338
Case 22-20052   Doc 1   Filed 03/01/22 Entered 03/01/22 17:41:06    Desc Main
                           Document Page 7 of 8

                            First Judicial Circuit Court of
                            Florida
                            Trial Court Administrator
                            190 W Government St
                            Pensacola, FL 32502-5773


                            Four Thirteen, LLC
                            109 E 17th St Ste 450
                            Cheyenne, WY 82001-4543




                            Four Thirteen, LLC
                            c/o Registered Agents Of Wyoming, LLC
                            400 E 20th St
                            Cheyenne, WY 82001-3708



                            Hathaway & Kunz, LLP
                            c/o Matthew D. Kaufman, Esq.
                            Po Box 1208
                            Cheyenne, WY 82003-1208



                            Impacted, LP
                            10869 N Scottsdale Rd
                            Scottsdale, AZ 85254-5280




                            Internal Revenue Service
                            Po Box 7346
                            Philadelphia, PA 19101-7346




                            Jennifer Hardister
                            24130 Turkey Rd
                            Sonoma, CA 95476-9759




                            Joshua Wearmouth
                            2136 Loggia
                            Newport Beach, CA 92660-9038
Case 22-20052   Doc 1   Filed 03/01/22 Entered 03/01/22 17:41:06   Desc Main
                           Document Page 8 of 8

                            Laramie County Dist Court
                            Clerk
                            309 W 20th St # 3205
                            Cheyenne, WY 82001-3601



                            Larry Stephens
                            4925 Northwind Ct N
                            Keizer, OR 97303-6312




                            Michael Hardister, Jr
                            24130 Turkey Rd
                            Sonoma, CA 95476-9759




                            Michael James Hardister, III
                            24130 Turkey Rd
                            Sonoma, CA 95476-9759




                            Quantum PR LLC
                            PO Box 388
                            Palmer, AK 99645-0388




                            Ron Meyers
                            31587 Via Cruzada
                            San Juan Capistrano, CA 92675-3331




                            Sion Trading Fze.
                            c/o Max Warren Barber
                            Po Box 9108
                            Salt Lake Cty, UT 84109-0108



                            Wyoming Department of
                            Revenue
                            Herschler Building East
                            122 W 25th St Ste E301
                            Cheyenne, WY 82001-3004
